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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )
    v.                              )    CRIMINAL ACTION NO.
                                    )       2:12cr221-MHT
MARK ALLAN VINSON                   )          (WO)


                        OPINION AND ORDER

    Defendant      Mark     Allan       Vinson   is    charged     with

conspiracy    to   distribute     and     possess     with   intent     to

distribute methamphetamine in violation of 21 U.S.C.

§ 841(a)(1) and with use of a communication facility in

committing    that    offense     in     violation     of    21   U.S.C.

§ 843(b).     This cause is now before the court on the

question of whether Vinson has the mental capacity to

stand trial, that is, whether he is currently suffering

from a mental disease or defect rendering him mentally

incompetent to the extent that he is unable to understand

the nature and consequences of the proceedings against

him or to assist properly in his defense.               See 18 U.S.C.

§ 4241(a).    During the hearing held on December 20, 2013,
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the parties agreed to submit the matter to the court for

resolution based on the evidence in the record, without

submission of additional evidence.

    Dr.    Guy   J.   Renfro,     Ph.D.,     a   licensed     clinical

psychologist, evaluated Vinson in November, 2013.                See 18

U.S.C. § 4241(b).      Dr. Renfro’s November 22, 2013, report

concluded that Vinson is currently competent to stand

trial.    It stated in relevant part:

          “Mark Vinson does not appear to suffer
          from any psychological disorder or
          mental condition that would prevent him
          from understanding the nature and
          consequences of the legal proceedings he
          is facing. Likewise, there are no
          indications of serious psychopathology
          that would prevent Mr. Vinson from
          working with his attorney in a legal
          defense.... Mr. Vinson is being rather
          obstinate in [his assessment of his
          case], but this appears to be more of a
          manifestation   of   personality    style
          rather   than  a   reflection    of   any
          psychological    disorder    or    mental
          condition.”

Psychological Evaluation submitted by Dr. Guy J. Renfro,

Ph.D., dated November 22, 2013 (Doc. No. 307) at 9-10.




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    Based upon the psychological evaluation and pursuant

to 18 U.S.C. § 4241(a), the court finds that Vinson is

not currently suffering from a mental disease or defect

such that he is unable to understand the nature and

consequences of the proceedings against him or to assist

properly in him defense.



                                 ***

    Accordingly, it is ORDERED that defendant Mark Allan

Vinson is declared mentally competent to stand trial in

this cause.

    DONE, this the 23rd day of December, 2013.


                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
